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JS 44 (Rev. 10/20) District of Colorado CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court, This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEH INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
TALBOTT'S MOUNTAIN GOLD LLLP, a Colorado limited JARED POLIS, in his official capacity as Governor of
liability limited partnership; see attached for add'l Pltfs Colorado; see attached for additional Defendants
(b) County of Residence of First Listed Plaintiff Mesa County of Residence of First Listed Defendant Denver
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
Kevin C. Paul, Range PC, 600 Grant St., Ste 650,
Denver, CO 80203; Todd Miller, Miller & Miller, LLC, 1301

 

 

 

 

  
    

   

      

        

     

    

     

       

       
  

     

            
      
  

 

        

Arapahoe St.. Ste 105. Golden. CO 80401

H. BASIS OF JURISDICTION (Place an “X” in One Box Only) WL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendani)

[]1 US. Government [x]3 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State Cc] 1 [_] 1 Incorporated or Principal Place CL] 4 (4
of Business In This State

[2 U.S. Government [14 Diversity Citizen of Another State C] 2 CL 2 Incorporated and Principal Place CT 5 [Js

Defendant (Indicate Citizenship of Parties in Item IID of Business In Another State
Citizen or Subject of a Cl 3 C] 3 Foreign Nation O 6 Ol 6
Foreign Country
IV. NATURE OF SUIT (pace an “x” in One Box Only) Click here for: Nature of Suit ipti

Code D

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110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Oo 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CJ 367 Health Care/ 400 State Reapportionment
[| 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical oy Ys ee] _| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyright 430 Banks and Banking
[ 151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability CT] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CT 153 Recovery of Overpayment Liability PERSONAL PROPERTY [ ABO! |_| 880 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle H 371 Truth in Lending Act |_| 485 Telephone Consumer
[_] 190 Other Contract Product Liability [| 380 Other Personal | 720 Labor/Management SOCIAL: SECURIPNE2| Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
H 196 Franchise Injury Cl 385 Property Damage se Railway Labor Act 862 Black Lung (923) H 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
Te CIVIESRIGHTS. RISONERPETITIONS:[_|790 Other Labor Litigation [|_| 865 RSI (405(g)) 891 Agricultural Acts
| {2 440 Other Civil Rights Habeas Corpus: 79\ Employee Retirement __| 893 Environmental Matters
[_] 220 Foreclosure 441 Voting | 463 Alien Detainee Income Security Act eT DIERA SUETS22 |} 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 510 Motions to Vacate [| 870 Taxes (U.S, Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) — 896 Arbitration
245 Tort Product Liability Accommodations |_| 530 General [_] 871 IRS—Third Party - 899 Administrative Procedure
[_}290 All Other Real Property 445 Amer. w/Disabilities -[-] 535 Death Penalty e IMIGR: 2 : 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer, w/Disabilities - [| 540 Mandamus & Other 465 Other Immigration x] 950 Constitutionality of
Other |_| 550 Civil Rights Actions State Statutes
448 Education |_| 555 Prison Condition
|_| 560 Civil Detainee «
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
1 Original ci? Reinoved from CO 3 Remanded from Oo 4 Reinstated or Ol 5 Transferred from O 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
S.C, Section 1983; US. Const. Amend, V & XIV
VI. CAUSE OF ACTION eee SOS Comet Arora ven [LAP Docket
rief description of cause:
Challenge to constitutionality of C.R.S, Section 8-13,5 - 202 (b) & (c)
VII. REQUESTED IN (-] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: __L]Yes No
VIN, RELATED CASE(S)
IF ANY Cee nsec Tonge DOCKET NUMBER
DATE a , SIGNATURE OF ATTORNEY OF RECORD
Jun 21, 2022 a f
TOR OFFICE USE ONLY

 

 

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
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I.(a)

ATTACHMENT TO CIVIL COVER SHEET

Additional Plaintiffs:

TALBOTT LAND AND PROPERTY LLLP, a Colorado limited liability limited
partnership;

BLAINE D PRODUCE COMPANY LLC, a Colorado limited liability company;
BOX ELDER RANCH, LLC, a Colorado limited liability company;

BOX ELDER RANCH, INC., a Colorado corporation;

MARC ARNUSCH FARMS LLC, a Colorado limited liability company; and
MAUCH FARMS, INC., a Colorado corporation.

Additional Defendants:

JOSEPH M. BARELA, in his official capacity as Executive Director of the Colorado
Department of Labor and Employment; and

SCOTT MOSS, in his official capacity as Director of the Division of Labor Standards
and Statistics, Colorado Department of Labor and Employment.

 
